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                                                   September 17, 2024
             Via CM/ECF
             United States District Court for the Southern District of New York
             ATTN: HON. JENNIFER L. ROCHON, U.S.D.J.
             500 Pearl Street, Courtroom 20B
             New York, New York 10007

                          RE:           HYUNHUY NAM v. PERMANENT MISSION OF THE REPUBLIC OF KOREA
                                        TO THE UNITED NATIONS, et al.
                                        CASE NO.: 1:21-cv-6165
                                        REQUEST FOR ADJOURNMENT

             Dear Judge Rochon:

                     As Your Honor may be aware, this office represents the defendant, the Permanent Mission
             of the Republic of Korea to the United Nations, in the above-referenced matter. We write, with
             Plaintiff’s consent, to respectfully request an adjournment of the status conference currently
             scheduled for September 25, 2024. This is the first request for adjournment of this conference.

                    The reason for this request is that the undersigned is scheduled to commence a trial on
             September 23, 2024. Furthermore, the undersigned will be out of the office from October 4, 2024,
             through October 14, 2024 on a pre-paid vacation.

                    For the foregoing reasons, defendant respectfully requests that the conference currently
             scheduled for September 25, 2024 be adjourned to a date after October 14, 2024. The
             undersigned’s other unavailable dates in October are as follows:

                           -     October: 17, 21, 23, 24 (morning), 28, and 30.

                           We thank the Court for its time and attention in this matter.

                                                              Respectfully submitted,               The request to adjourn the parties'
                                                                                                    status conference, currently scheduled
                                                              /s/ Sean S. Kwak                      for September 25, 2024, is granted.
                                                                                                    The status conference in this matter
                                                              Sean S. Kwak, Esq.
                                                                                                    will be rescheduled to October 16,
             SSK/by                                         SO ORDERED.                             2024, at 10:30 a.m.

                                                                                                    Dated: September 18, 2024
                                                            JENNIFER L. ROCHON
                                                                                                           New York, New York
                                                            United States District Judge
